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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                                 MONROE DIVISION

 UNITED STATES OF AMERICA                         *    CRIMINAL NO. 07-30040-03


 VERSUS                                           *    JUDGE JAMES


 ANDRES GALVAN                                    *    MAGISTRATE JUDGE HAYES


                 REPORT AND RECOMMENDATION ON
  FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE


       Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

consent of the defendant, this matter has been referred by the District Court for administration of

Guilty Plea, and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

       This cause came before the undersigned U. S. Magistrate Judge for a change of plea

hearing and allocution of the defendant, Andres Galvan, on January 15, 2008. Defendant was

present with his counsel, Mr. Walter Caldwell.

       After said hearing, and for reasons orally assigned, it is the finding of the undersigned

that the defendant is fully competent, that his plea of guilty is knowing and voluntary, and his

guilty plea to Count Two of the Indictment, is fully supported by a written factual basis for each

of the essential elements of the offense. Therefore the undersigned U.S. Magistrate Judge

recommends that the District Court ACCEPT the guilty plea of the defendant, Andres Galvan, in

accordance with the terms of the plea agreement filed in the record of these proceedings, and that

Andres Galvan be finally adjudged guilty of the offense charged in Count Two of the Indictment.

       Under the provisions of 28 U.S.C. § 636(b)(1)(C) and F.R.C.P. Rule 72(b), the parties

have ten (10) business days from service of this Report and Recommendation to file specific,
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written objections with the Clerk of Court. A party may respond to another party’s objections

within ten (10) business days after being served with a copy thereof. A courtesy copy of any

objection or response or request for extension of time shall be furnished to the District Judge at

the time of filing. Timely objections will be considered by the District Judge before he makes a

final ruling.

        A PARTY’S FAILURE TO FILE WRITTEN OBJECTIONS TO THE PROPOSED

FINDINGS, CONCLUSIONS AND RECOMMENDATIONS CONTAINED IN THIS

REPORT WITHIN TEN (10) BUSINESS DAYS FROM THE DATE OF ITS SERVICE

SHALL BAR AN AGGRIEVED PARTY, EXCEPT ON GROUNDS OF PLAIN ERROR,

FROM ATTACKING ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL

FINDINGS AND LEGAL CONCLUSIONS ACCEPTED BY THE DISTRICT JUDGE.

        THUS DONE AND SIGNED at Monroe, Louisiana, this 15th day of January, 2008.
